     Owl.AtlOMA STATE DEPARTMENT  OF CORRECTIONS
                           CONFIDENTIAL                 ... Consolidated
                                        - SUBJECT TO PROTECTIVE ORDER    Record Card
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         712727                         08/01/2018                          FEMALE           WHITE             5 I 9 11     134 lbs         BROWN              GREEN'
     DOC Number                         DOC Reception Date                 Gender          Race            Height          Weight        Hair             Right Eye

      GARLAND, LAURIE ELIZABETH                                             XXX-XX-XXXX                           1243985                         212139RB3
     Name                                                                  SSN                             OSBI Number                     FBI Number

     Alias Names and Additional SSN
                                                                                                     01/19/1982                     NO                  09/9999
      GARLAND, LAURIE                                                                             Date Of Birth             Victim Notification    Parole Eligibility
      GARLAND, LAURIE E
                                                                                                     CHRISTIANITY
      NEWMAN, LAURIE                                                                              Religion
      NEWMAN, LAURIE E
                                                                                                                                                                                                                         6:20-cv-00306-JWB




      NEWMAN, LAURIE ELIZABETH                                                                       GENERAL LABOR
                                                                                                  Skills




     Emergency Contact;        WATTERSON, JASON                                                   ContactAddress: 2417 SANDY CREEK RD
     TelephoneNumber:          (580) 5043925                                                                              ARDMORE                                    OK         Zip Code: 73407

                 Count     J &S              County of
                                                                                                                                                                                                                         Document 65-1




        CRF       No.      Date             Prosecution        Offense Description                                                                                        ETC    Sentences

     2018-33        1    07/30/2018,
                                         - -CARTER
                                             - - - -DUI
                                                     - - - - - - - - - - - - - - - - - - - - - - - - - - -NO-ETC- -10- YR
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 -::, 2018-334      1    07/30/2i;l18         CARTER           DUI

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                                                                                                                                                                                                                         Filed in ED/OK on 09/13/21




              Movement History                                 Classification/Job                                                              Disciplinary Record
            From   To      Date                               Action          D""lte                                                        Code       Date                           Punishment           Code
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     OAG/Garland v DOC/CIV-20-306-RAW (ED)                                                                                                                                                         0286
             6:20-cv-00306-JWB                          Document 65-1               Filed in ED/OK on 09/13/21                                          Page 2 of 3
 lnitiai Eligibility: L3 _lli; Ji);  _11.
 Initial Eligibility: L4         CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
                          ~..2W'1:1_
                                                                                             DOC Number                        d,          :ceived
 GARLAND, LAURIE ELIZABETH                                                                    712727                           08-01-2018
 Jail Time                                             85%Date
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    Month         Served         Earned               Other      Lost     Net                              Comments
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OAG/Garland v DOC/CIV-20-306-RAW (ED)
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                                                                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
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       712727                       o2 /-µ, I J..01 r;                        FEMALE                 ·WHITE               5 1 9 11    ·161 lbs        BLOND            · GRE:EN
 _D_O_C_N_u_m_b-er_ __
                                      DOC Reception Date                    Gender                  Race               Height         Weight         Hair             Right Eye
k
    GARLA..ND, LAURIE ELIZABETH                                              XXX-XX-XXXX                                        1243985                       212139RB3
 Name                                                                       SSN                                        OSBI Number                     FBI Number

 Alias Names and Additional SSN
                                                                                                                01/19/1982                     NO                   11/2016
                                                                                                             Dale Of Birth              Victim Notification    Parole Eligibilily

                                                                                                                CHRISTIANITY
                                                                                                              Religion
                                                                                                                                                                                                                             6:20-cv-00306-JWB




                                                                                                                GENERAL LABOR
                                                                                                              Skills




 Emergency Contact:          NEUMAN, ELIZABETH                                                               ContactAddress: 902             - S FRANKLIN DR
. Telephone Number:              (580)       2232998                                                                                 ARDMORE                                      OK            Zip Code: 73707

              Count       J&S                 County of
                                                                                                                                                                                                                             Document 65-1




      CRF      No.        Date               Prosecution     Offense Description                                                                                                        ETC      Sentences

 2014-282          0   12/03/2014             CARTER         POST IMPRISONMENT SUPERVISION                                                                                             NO ETC      l   YR PROB CS

 2013-13           l   12/03/2014             CARTER         CHILD ENDANGERMENT BY DRIVING A MOTOR VEHICLE WHILE; UNDER THE INFLUENCE                                                  NO ETC

 2013-13           0   12/03/2014             CARTER         POST IMPRISONMENT SUPERVISION                                                                                             NO ETC      l   YR PROB CS




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           Movement History                                  Classification/Job                                                                             Disciplinary Record
         From   To      Date                                Action         . Date                                      Charge                            Code       Date                               Punishment     Code
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OAG/Garland v DOC/CIV-20-306-RAW (ED)                                                                                                                                                                               0288
